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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF PUERTO RICO
UNITED STATES OF AMERICA,
Plaintiff,
v.                                                            Crim. No. 18-472 (FAB)
ROBERT Y. DE JESUS RUPET,
Defendant.
                                SENTENCING MEMORANDUM


TO: THE HONORABLE FRANCISCO A. BESOSA
UNITED STATES DISTRICT COURT JUDGE
FOR THE DISTRICT OF PUERTO RICO
       It never works out like you want to. He did not need it. He thought it would make him

"safe". He ended just being scared and in jail.


       On July 20, 2018, Robert de Jesus Rupert was a 20 year old young man who did not

know how his life was going to change that night. In the morning of July 21, around 4:20 am, he

ran off the road in a single car accident. No one was hurt. Police responded to the accident. Upon

arrival, Robert approached them with a black bag and showed them that there was a loaded pistol

magazine therein. He also told them that he had a gun, and had thrown it in the bushes before

they got there. He showed them where he threw it so they could recover it. You see, Robert was

scared, scared for his life. He told the agents he had been pursued before he had the accident. He

told the agents that he was better off in jail than dead.
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         A young man way over his head. Scared. Maybe for the first time understanding the

mistake of the path he had taken or was taking. A path he now believed would end up with his

death.


         When I met Robert at MDC, to interview him before the preliminary hearing, I was

skeptical of the above story. It sounded like the PRPD had made it all up to cover an illegal

search of the vehicle, or a involuntary confession. I expected Robert to deny everything the

PRPD said of him. He did not. He confirmed all of it.


         I also expected to meet a hardened young man, with a history of juvenile crimes or a

street attitude of rebelliousness and defiance. He was not. He was a well behaved, polite and

attentive young man. He was also smart and knew he was in trouble. He wanted help and a new

beginning.


         He does have traumatic incident in his past that might explain his actions. His maternal

uncle and cousins where murdered. The mother took him to a psychiatrist because she felt he

was affected by this tragedy. Mothers are usually right. He might have paranoia, or maybe he felt

threatened. I do not think he knows himself why but it surely affected him.


         Contrary to many, the family support him in this episode. They remain by his side and

have made sure that upon release, he will have his job at the construction company he worked for

available to him. He also wants to learn a new trade, aviation mechanic. He also wants to learn

English as he wants to move to the continental United States to make his life there. He has a plan

to make sure this is not repeated.


         This is not a typical case. The defendant is not a typical defendant for the possession of a

firearm, much less an automatic forearm. We see a lot of young men with firearms, involved in
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the drug business or committing violent crimes. Not Robert. We see a lot of young men with

firearms who are drug users. Not Robert. We see a lot of young men with firearms that have

prior convictions. Not Robert. We see a lot of young men committing crimes with no nuclear

family support. Not Robert.


        I know of no other defendant that upon the PRPD approaching for an unrelated matter,

confessed, surrendered and assisted the authorities like Robert did. This assistance to the

authorities, the voluntary confession, especially in recovering the firearm, should be rewarded.

Even in his judicial proceedings he has accepted his responsibility promptly and complied with

all that is required of him.


        Robert de Jesus Rupert is different and can be helped. A sentence at the lower end of the

guidelines, followed by the three years of supervised release allowed by law, will provide

sufficient but not greater than necessary punishment for Robert. Further, it will provide him the

ability to go back to work and start executing his educational plan. His youth and background

provide hope that supervision will make sure that he follows the good path and never stray from

it again.


        Defendant acknowledges and agrees to the forfeiture of the weapon, magazines and

ammunition.


        WHEREFORE, it is respectfully requested that the sentence defendant to the lower end

of the Guidelines and three (3) years of supervised release.
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                                   CERTIFICATE OF SERVICE


I HEREBY CERTIFY that on January 4, 2019, I electronically filed the foregoing


with the Clerk of the Court using the CM/ECF system which will send notification of such filing


to the following: all parties of interest.


        In San Juan, Puerto Rico, on the 4th day of January, 2019.
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